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           EXHIBIT A
                       Case 5:21-mc-80284-NC Document 7-2 Filed 01/24/22 Page 2 of 11
 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information. or Objects or to Pennit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                      for the
                                                           Western District of Washington               E]
SEAN WILSON, individually and on behalf of
all others similarly situated                                                   )
                                Plaintiff                                       )
                            V.                                 )                        Civil Action No. 3:18-cv-05275-RSL
PTT, LLC, a Delaware limited liability company,                )
cl/b/a HIGH 5 GAMES, LLC, a Delaware limited liability company)
                               Defendant                                        )

                                  SUBPOENA TO PRODUCE DOCUMENTS, INFORi"\tl.ATION,OR OBJECTS
                                     OR TO PERi\UT INSPECTION OF PREMISES IN A CML ACTION
              Facebook, Inc. c/o Co1poration Service Company, in Califomia d/b/a CSC-Lawyers Incorporating Service
  To:
              2710 Gateway Oaks Drive, Suite 150N, Sacramento, CA 95833
                                                        (Name of person to whom this subpoena is directed)

     'g Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents,electronically stored information,or objects, and to permit inspection,copying, testing, or sampling of the
 material:
       See attachedRider.

   Place: Edelson PC                                                                     Date and Time:
             150 Califomia Street, 18th Floor                                                     March 31, 2021 11:59 pm
             San Francisco, CA 94111

      □ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, smvey, photograph, test, or sample the property or any designated object or operation on it.

  IPia«                                                                                I Date and Time:


        The followingprovisions of Fed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequencesof not doing so.
 Date:       3/17/2021

                                    CLERK OF COURT
                                                                                             OR

                                            Signature of Clerk or Deputy Clerk                                         Attorney's signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party) Sean Wilson
                                                                         , who issues or requests this subpoena, are:
--------------------------
    Todd Logan, 150 Califomia Street, 18th Floor, San Francisco, CA 94111, tlogan@edelson.com, 415-638-9853

                                Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents,electronically stored information,or tangible things or the
 inspectionof premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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 1                                                             The Honorable Robert S. Lasnik
 2

 3

 4

 5                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 6                                  AT SEATTLE
 7
      SEAN WILSON, individually and on behalf of   No. 18-cv-05275-RSL
 8    all others similarly situated,
                                                   RIDER TO SUBPOENA TO
 9
                          Plaintiff,               FACEBOOK, INC.
10
             v.
11
      PTT, LLC, a Delaware limited liability
12
      company, d/b/a HIGH 5 GAMES, LLC, a
13    Delaware limited liability company,

14                        Defendant.
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28   RIDER TO SUBPOENA TO FACEBOOK, INC.       1                      EDELSON PC
     Case No. 3:18-CV-05275-RSL                     350 N LaSalle Drive, 14th Floor, Chicago, IL 60654
                                                          Tel: 312.589.6370 Fax: 312.589.6378
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 1                                              I. Definitions

 2          1.      “Communication” or “Communications” means the transmittal of information,

 3   facts or ideas, Including Communications in the form of any discussion, conversation, inquiry,

 4   negotiation, agreement, understanding, meeting, telephone conversation, letter, correspondence,

 5   note, memorandum, e-mail message, e-mail attachment, instant message, text message,

 6   electronic chat, telegram, audio recordings, advertisement or other form of exchange of words,

 7   whether oral or written, or sent or received by You to or from any entity, Including files

 8   maintained or exchanged internally within Your business or with Your employees.

 9   “Communication” or “Communications” also means all written and unwritten but recorded

10   correspondence, Including non-duplicate drafts, versions not sent, and copies that differ only in

11   margin notes or annotations, Including memos, letters analog or digital recordings, audio

12   recordings, electronic chat logs, voicemail, email, computer files, computer discs, or other things

13   sent or received by You to or from any entity, Including files maintained or exchanged internally

14   within Your business or with Your employees.

15          2.      “Contact Information” means all names, usernames/PlayerIDs, phone numbers,

16   email addresses, and mailing addresses.

17          3.      “Damages Class Member” means all Persons in Washington who purchased

18   Virtual Chips on either High 5 Casino or High 5 Vegas after April 9, 2014.

19          4.      “Date” means the exact year, month, and day, if known, or if not known, Your

20   best approximation thereof.

21          5.      “Document” or “Documents” means any writings, letters, telegrams, memoranda,

22   correspondence, Communications, email messages, memoranda or notes of conferences or

23   telephone conversations, reports, studies, lists, compilations of data, papers, books, records,

24   contracts, deeds, leases, agreements, pictures, photographs, transcripts, tapes, microfilm,

25   Computer data files, printouts, accounting statements, mechanical and electrical recordings,

26   checks, pleadings, and other tangible things upon which any handwriting, typing, printing,

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 1   drawing, representation, photostatic, or other magnetic or electrical impulses or other form of

 2   Communication is recorded, stored or produced, Including audio and video recordings, and ESI

 3   (Including e-mails, web pages, websites, computer discs, computer programs and computer files,

 4   Including, where applicable, compiled and uncompiled source code), whether or not in printout

 5   form. These terms shall also mean copies of Documents even though the originals are not in

 6   Your possession, custody or control; every copy of a Document which contains handwritten or

 7   other notations or which otherwise does not duplicate the original of any other copy; all

 8   attachments to any Documents; and any other Documents, item and/or information discoverable

 9   under federal law and procedure, Including, without limitation, the items referenced in Federal

10   Rule of Civil Procedure 34(a)(1).

11           6.        “Electronically Stored Information” or “ESI” as used herein, means and refers to

12   computer generated information or data of any kind, stored on computers, file servers, discs, tape

13   or other devices or Media, or otherwise evidenced by recording on some storage Media, whether

14   real virtual, or cloud based.

15           7.        “Games” means High 5 Casino or High 5 Vegas. The identifiers for these games

16   are as follows:

17                 (a) High 5 Casino:

18                     https://www.facebook.com/High5Casino/

19                 (b) High 5 Vegas:

20                     https://www.facebook.com/High5Vegas/

21           8.        “Including” means “including, but not limited to;” “Includes” means “includes,

22   but is not limited to.”

23           9.        “Media” means or refers to an object or device, real or virtual, Including a disc,

24   tape, computer or other device, on which data is or was stored.

25           10.       “Metadata” means or refers to data about data, Including information embedded

26   in a native file or other data that is not ordinarily viewable or printable from the application that

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 1   generated, edited, or modified the native file, which describes the characteristics, origins, usage

 2   and validity of the electronic file as well as information generated automatically by the operation

 3   of a computer or other information technology system when a native file is created, modified,

 4   transmitted, deleted or otherwise manipulated by a user of such system.

 5          11.     “Person” means any natural person, corporation, partnership, association,

 6   organization, joint ventures, or other entity of any type or nature.

 7          12.     “PlayerId/Username” means a unique identifier attached to a Person who has a

 8   Games, and/or Facebook account.

 9          13.     “Related Entities” means an entity’s predecessors and successors, present and

10   former agents, present and former attorneys, present and former directors, present and former

11   divisions, present and former employees, present and former officers, present and former related

12   companies, present and former subsidiaries, and all Persons acting, purporting to act, or that have

13   purported to act on behalf of any of them.

14          14.     “Lifetime Spending Amount” means a Damages Class Member’s all-time

15   spending on Your platform within High 5 Casino or High 5 Vegas.

16          15.     “Virtual Chips” means the virtual currency users may purchase in Games,

17   regardless of the denominated name for that virtual currency within the app (e.g., “Chips,”

18   “Coins,” “Tokens,” “Credits,” etc.).

19          16.      “Virtual Chip Transaction” means a transaction in which a Damages Class

20   Member exchanges money for Virtual Chips.

21          17.     “You” or “Your” means Facebook, Inc. and its Related Entities.

22                                          II. General Instructions

23          1.      All Documents must be produced in their native data format, along with all

24   relevant Metadata. In the event You contend that Documents to be produced in response to any

25   of the Requests are more readily available and easier to use, search, manage, and produce in a

26   non-native form, You shall promptly notify Plaintiff’s counsel of the specific Documents at issue

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 1   and the Parties shall meet and confer. If no agreement as to the format of the production for the

 2   Documents specified can be reached, the Parties shall submit their dispute to the Court.

 3          2.      Each page of the produced Document or Media upon which ESI in native format

 4   is produced shall have a legible, unique page identifier, or “Bates Number.”

 5          3.      Where production of .tiff images rather than native format ESI is agreed upon by

 6   the Parties, each Document image file shall be named with the unique Bates Number of the first

 7   page of the Document, followed by the extension “.tiff.” To the extent separate text files are

 8   provided, text files should be named the same as the first .tiff image of the Document.

 9          4.      When producing the requested Documents, You are to designate for which

10   specific Request(s) the Document is responsive, identifying them by Bates Number. Under

11   Federal Rule of Civil Procedure 45(e)(1), all Documents are to be produced in the form, order,

12   and manner in which they are maintained in Your files. Documents are to be produced in the

13   folders, cartons, or containers in which they have been maintained, stored, clipped, stapled, or

14   otherwise arranged in the same form and manner in which they were found and in such manner

15   that the office and location from which they were produced is readily identifiable. Whenever a

16   Document or group of Documents is/are taken out of a file folder, file drawer, file box, or

17   notebook, before the same is/are produced, attach thereto a copy of the label on the file folder,

18   file box, or notebook from which the Document or group of Documents was removed.

19          5.      If any Document requested has been lost or destroyed since its creation, identify

20   the nature of the Document (e.g., letter, email, etc.), the Date of the Document, the Persons who

21   sent and received the original and any copy of the Document, a summary of the content of the

22   Document and Describe when, where, how, and by whom said Document was lost or destroyed,

23   and state the name of the Person(s) who last had custody thereof.

24          6.      All definitions should be interpreted to include the defined terms in both their

25   singular and plural forms.

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 1                                    III. Requests for Production

 2   REQUEST FOR PRODUCTION NO. 1

 3          Documents sufficient to identify all email addresses for, and the Lifetime Spending

 4   Amount associated with, all Damages Class Members.

 5          RESPONSE:

 6   REQUEST FOR PRODUCTION NO. 2

 7          Documents sufficient to identify all Contact Information for, and the Lifetime Spending

 8   Amount associated with, each Damages Class Member whose Lifetime Spending Amount is

 9   greater than $100.

10          RESPONSE:

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13
                                                 SEAN WILSON, individually and on behalf of all
14                                               others similarly situated,
15
     Dated: March 17, 2021                       By: /s/ Todd Logan
16                                               One of Plaintiffs’ Attorneys
17                                               Rafey S. Balabanian (SBN 315962)
                                                 rbalabanian@edelson.com
18
                                                 Todd Logan (SBN 305912)
19                                               tlogan@edelson.com
                                                 Brandt Silver-Korn (SBN 323530)
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                                                 Tel: 415.212.9300
23                                               Fax: 415.373.9495

24                                               Jay Edelson
                                                 jedelson@edelson.com
25                                               Alexander G. Tievsky
26                                               atievsky@edelson.com
                                                 Amy B. Hausmann
27                                               abhausmann@edelson.com

28   RIDER TO SUBPOENA TO FACEBOOK, INC.            6                        EDELSON PC
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 3                                         Fax: 312.589.6378

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28   RIDER TO SUBPOENA TO FACEBOOK, INC.      7                       EDELSON PC
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